                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

MALKA RAUL, Derivatively on Behalf of
Nominal Defendant GENERAL ELECTRIC
COMPANY,                                              Civil Action No.

                       Plaintiff,                     VERIFIED SHAREHOLDER
                                                      DERIVATIVE COMPLAINT
        v.

 JOHN L. FLANNERY, SEBASTIEN M.                       JURY TRIAL DEMANDED
 BAZIN, W. GEOFFREY BEATTIE, JOHN J.
 BRENNAN, FRANCISCO D’SOUZA,
 MARIJN E. DEKKERS, EDWARD P.
 GARDEN, PETER B. HENRY, SUSAN J.
 HOCKFIELD, ANDREA JUNG, RISA
 LAVIZZO-MOUREY, ROCHELLE B.
 LAZARUS, STEVEN M. MOLLENKOPF,
 JAMES J. MULVA, JAMES E. ROHR, MARY
 L. SCHAPIRO, JAMES S. TISCH, JAMIE
 MILLER, JEFFREY R. IMMELT, and
 JEFFREY S. BORNSTEIN

                       Defendants,

 and

 GENERAL ELECTRIC COMPANY,

                       Nominal Defendant.



       Plaintiff Malka Raul (Plaintiff”), by and through her undersigned attorneys, brings this

shareholder derivative action for the benefit of Nominal Defendant General Electric Company

(“GE” or the “Company”), against certain of the Company’s officers and members of the Board

of Directors (the “Board”) seeking to remedy Defendants’ (as defined below) violations of §14(a)

of the Securities Exchange Act of 1934 (the “Exchange Act”), breaches of fiduciary duty, abuse

of control, unjust enrichment, and gross mismanagement. Plaintiff makes these allegations upon
personal knowledge and the investigation of counsel, which includes without limitation: (a) review

and analysis of public filings made by GE and other related parties and non-parties with the United

States Securities and Exchange Commission (“SEC”); (b) review of news articles, shareholder

communications, and postings on GE’s website; (c) review of the pleadings and other documents

in the securities class action captioned Hachem v. General Electric, Inc., Case No. 1:17-cv-08457

(S.D.N.Y.) (the “Securities Class Action”); and (d) review of other publicly available information

concerning GE and the Defendants.

                                 NATURE OF THE ACTION

       1.      Plaintiff brings this action derivatively for the benefit of Nominal Defendant GE

against certain of the Company’s current and former executive officers and directors seeking to

remedy the Defendants’ violations of the Exchange Act for issuing false and misleading statements

and/or omitting material information in the Company’s public filings and proxy statements from

approximately December 14, 2016 to the present (the “Relevant Period”).1

       2.       GE is a technology and financial services company operating around the globe,

operating several different segments, including Capital, Healthcare, Aviation, Power, Oil & Gas,

Renewable Energy, Energy Collections & Lighting, and Transportation.

       3.      During the Relevant Period, and for years prior thereto, Defendants falsely reported

the finances of its power and insurance segments (the GE insurance segment is a subsidiary of GE

Capital).




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  The materially misleading statements and/or omissions were issued in the Company’s financial
reports and other public filings and releases from approximately December 14, 2016 to January
24, 2017; however, the wrongs complained of herein continue through to the present as the
Company’s internal controls remain deficient.

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    False and Misleading Statements and Material Omissions Concerning $15 Billion of
                    Exposure to Long Term Care Insurance Liabilities

       4.      On January 16, 2018 GE shocked investors when it announced that the Company

would have to pay $15 billion for reserves to cover its underpayment of reserves for long-term

care insurance (which pays for products such as nursing-home care for the elderly) liabilities, with

the result that anticipated earnings and dividends were drastically reduced and the Company’s

stock dropped over 7.5% in the following several trading days following the announcement.

       5.      Long term care insurance (“LTC”) contracts written in the early 2000’s caused

hundreds of billions of dollars of losses to the insurers who issued them as a result of policyholders

living longer and incurring higher medical costs than insurers had built into their initial

assumptions at the time the LTC contracts were written in the early 2000’s. A vast majority of

insurance companies (including GE) withdraw from writing new LTC contracts years ago, and it

was only because no party desired to accept GE’s huge LTC insurance liabilities, that GE’s LTC

insurance contracts were carved out of the deal spinning off the profitable portions of its insurance

segment over a decade earlier.

       6.      The January 16, 2018 $6.2 billion charge (resulting from the suddenly announced

$15 billion set aside for reserves) did not mysteriously materialize overnight or in a year. Rather,

it resulted from over a decade’s worth of the Company’s intentional underreporting of potential

LTC liabilities. Concerning the news, CEO Defendant Flannery stated “At a time when we are

moving forward as a company, a charge of this magnitude from a legacy insurance portfolio in

runoff for more than a decade is deeply disappointing.”

       7.      The huge unreported liabilities associated with GE’s retention of unprofitable LTC

insurance contracts had been long known to the many dozens of GE executives, accountants,




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actuaries and other employees, who actively participated in altering of LTC actuarial projections

and other financial data so as to conceal the extent of the Company’s LTC liability from investors.

       8.         On January 24, 2018, the Company filed an 8-K with the SEC announcing its fourth

quarter results for 2017. The Company reported EPS of $0.28 on revenue that fell 5% year over

year to $31.4 billion. This was short of analysts’ expectations of $0.28 per share on revenue of

$33.93 billion.

       9.         In addition, during a conference call that same day, the Company noted that SEC

regulators were investigating the $6.2 billion insurance loss revealed by the Company on January

16, 2018, and that the SEC was also investigating the Company’s accounting practices, specifically

looking into “revenue recognition and controls” for the Company’s long-term service agreements.

In response, the Company noted that it would restate its 2016 and 2017 quarterly numbers to reflect

“new accounting standards.”

False and Misleading Statements and Material Omissions Concerning Power Segment and
                                     Cash Flow

       10.        In addition, throughout the Relevant Period, the Company issued false

representations to the market concerning GE Capital’s cash flow position, in large part as a result

of overstating the strength of its power segment. For instance, on July 21, 2017, the Company

noted that “[w]e have created a very strong position in Power” and that it was expecting “cash

flow to continue to improve throughout the year.”

       11.        On October 20, 2017, GE announced its quarterly results for the third quarter 2017.

The Company reported earnings per share (“EPS”) of $0.29, falling short of estimates of $0.49 per

share. In addition, the Company also stated that it was lowering 2017 earnings expectations,

lowering EPS to $1.05-$1.10 from $1.60-$1.70, as well as deferring the decision to pay




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approximately $3 billion of additional GE Capital dividends until a review of the Company’s

deficiency assumptions was conducted.

       12.     That same day, the Company held a conference call with analysts and investors to

discuss the above results. On the call, the Company’s current CEO, Defendant Flannery, stated

“[w]hile the company has many areas of strength, it’s also clear from our current results that we

need to make some major changes with urgency and a depth of purpose. Our results are

unacceptable, to say the least.”     Defendant Flannery further noted that problems with the

Company’s Cash Flow from Operating Activities (“CFOA”) was down primarily due to “lower

than anticipated power volume which was resulted in lower earnings and higher inventory. . . .”

       13.     In the October 20, 2017 conference call, Defendants largely blamed the

disappointing results on its power segment. In particular, Defendant Flannery stated that the

results were due to “lower than anticipated Power volume which was resulted in lower earnings

and higher inventory . . . .” Following the news, the Company stock fell nearly 7% or $1.51 per

share on October 23, 2017.

       14.     On November 13, 2017, the Company held an Investor Update and revealed that it

would be slashing its annual dividend in half, from $0.96 to $0.48 per share. This would mark

only the second dividend cut by the Company since the Great Depression. The Company noted

that after realizing its industrial business had not grown as previously expected, it would no longer

be appropriate to keep the same dividend rate.

       15.     Throughout the Relevant Period, Defendants failed to disclose that GE Power was

suffering order drops, excess inventories and increased costs, and in part as a result thereof the

Company overstated GE’s full year 2017 guidance.




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        16.      The Company and its shareholders have been severely harmed by the false and

misleading statements concerning the Company’s business, operations, and prospects. As a result

of the above described misconduct, the Company’s stock price has continued to drop and has failed

to recover. As of April 11, 2018, the Company’s stock was trading near its lowest level in the past

six years, closing at $12.98, a stark contrast to the $31.75 the Company’s stock was trading at on

December 16, 2016, shortly after the beginning of the Relevant Period.

                                  JURISDICTION AND VENUE

        17.      This Court has jurisdiction over the claims asserted herein under 28 U.S.C. § 1331

because the claims arise under and pursuant to § 14(a) of the Exchange Act (15 U.S.C. § 78n(a))

and Rule 14a-9 promulgated thereunder (17 C.F.R. § 240.14a-9).

        18.      The Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. §1367(a) as they relate to Plaintiff’s claims under 15 U.S.C. §78n(a).

        19.      Venue is proper in this Court because a substantial portion of the transactions and

wrongs complained of herein occurred in this District, and Defendants have received substantial

compensation within this District by doing business here and engaging in numerous activities that

had an effect in this jurisdiction. Also, the Company’s principal executive offices are located in

this District.

                                          THE PARTIES

        20.      Plaintiff was a shareholder at the time of the wrongdoing complained of herein, has

continuously held shares in the Company throughout the Relevant Period, and continues to hold

shares in GE currently.




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       21.      Nominal Defendant GE is a New York corporation with its principal executive

offices at 41 Farnsworth Street, Boston, Massachusetts 02210. The Company’s stock trades on

the New York Stock Exchange (“NYSE”) under the ticker symbol “GE.”

       22.      Defendant John L. Flannery (“Flannery”) has been a member of the Board since

and the Company’s Chief Executive Officer (“CEO”) since August 1, 2017. Defendant Flannery

has been the Chair of the Board since October 2, 2017. In his role as CEO for fiscal year 2017,

Defendant Flannery received $16,005,604 in total compensation.

       23.      Defendant Sebastien M. Bazin (“Bazin”) has been a member of the Board since

2016. Defendant Bazin is a member of the Board’s Audit Committee.

       24.      Defendant W. Geoffrey Beattie (“Beattie”) has been a member of the Board since

2009. Defendant Beattie is a member of the Board’s Audit Committee.

       25.      Defendant John J. Brennan (“Brennan”) has been a member of the Board since

2012. According to the Company’s website, Defendant Brennan is designated the Board’s “Lead

Director” and Defendant Brennan is the Chair of the Compensation Committee and a member of

the Governance Committee.

       26.      Defendant Francisco D’Souza (“D’Souza”) has been a member of the Board since

2013. Defendant D’Souza is a member of the Board’s Industrial Risk Committee.

       27.      Defendant Marijn E. Dekkers (“Dekkers”) has been a member of the Board since

2012. Defendant Dekkers is the Chair of the Board’s Industrial Risk Committee and member of

the Compensation Committee.

       28.      Defendant Edward P. Garden (“Garden”) has been a member of the Board since

October 2017.




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        29.   Defendant Peter B. Henry (“Henry”) has been a member of the Board since 2016.

Defendant Henry is a member of the Board’s Audit Committee.

        30.   Defendant Susan J. Hockfield (“Hockfield”) has been a member of the Board since

2006.   Defendant Hockfield is a member of the Board’s Governance and Industrial Risk

Committees.

        31.   Defendant Andrea Jung (“Jung”) has been a member of the Board since 1998.

Defendant Jung is a member of the Board’s Governance and Compensation Committees.

        32.   Defendant Risa Lavizzo-Mourey (“Lavizzo-Mourey”) has been a member of the

Board since 2017.    Defendant Lavizzo-Mourey is a member of the Board’s Governance

Committee.

        33.   Defendant Rochelle B. Lazarus (“Lazarus”) has been a member of the Board since

2000. Defendant Lazarus is the Chair of the Board’s Governance Committee and member of the

Compensation Committee.

        34.   Defendant Steven M. Mollenkopf (“Mollenkopf”) has been a member of the Board

since 2016. Defendant Mollenkopf is a member of the Board’s Industrial Risk Committee.

        35.   Defendant James J. Mulva (“Mulva”) has been a member of the Board since 2008.

Defendant Mulva is a member of the Board’s Audit and Industrial Risk Committees.

        36.   Defendant James E. Rohr (“Rohr”) has been a member of the Board since 2013.

Defendant Rohr is a member of the Board’s Audit and Governance Committees.

        37.   Defendant Mary L. Schapiro (“Schapiro”) has been a member of the Board since

2013. Defendant Schapiro is the Chair of the Board’s Audit Committee.

        38.   Defendant James S. Tisch (“Tisch”) has been a member of the Board since 2010.

Defendant Tisch is a member of the Board’s Governance Committee.




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       39.     Defendants Flannery, Bazin, Beattie, Brennan, D’Souza, Dekkers, Garden, Henry,

Hockfield, Jung, Lavizzo-Mourey, Lazarus, Mollenkopf, Mulva, Rohr, Schapiro and Tisch are

collectively referred to herein as the “Director Defendants.”

       40.     Defendant Jamie Miller (“Miller”) has been the Company’s CFO since Defendant

Bornstein’s departure in October 2017. Defendant Miller has previously been President and CEO

of GE Transportation, Vice President, Controller and Chief Accounting Officer; and as GE’s Chief

Information Officer.

       41.     Defendant Jeffrey R. Immelt (“Immelt”) was the Chairman of the Board and the

Company’s CEO from September 2001 through August 1, 2017.

       42.     Defendant Jeffrey S. Bornstein (“Bornstein”) was the Company’s Chief Financial

Officer (“CFO”) from July 1, 2013 through November 1, 2017.

       43.     Defendants Miller, Immelt and Bornstein, along with the Director Defendants, are

collectively referred to herein as the “Individual Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                  Background of the Company

       44.     Founded in 1892, GE is a technology and financial services company operating

around the globe, offering a wide variety of products and services including aircraft engines, power

generation, water processing and household appliances. The Company operates along several

different segments, including Capital, Healthcare, Aviation, Power, Oil & Gas, Renewable Energy,

Energy Collections & Lighting, and Transportation. Two segments which were the primary

sources of the false and misleading in particular – GE Capital and GE Power.

       45.     GE Capital is GE’s financial services unit and provides lending and leasing

opportunities to customers in the aviation, energy, and industrial sectors. Recently (and during the




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Relevant Period), flow-through dividends from GE Capital provided GE with a substantial amount

of its free cash flow used for dividends and to fund buybacks to GE shareholders. GE Capital paid

dividends to GE of approximately $28.4 billion between 2015 and 2017.

       46.     GE Power, a wholly-owned subsidiary of GE, builds industrial products including

power plants, turbines, and generators. GE Power serves power generation, industrial, government

and other customers around the world with products and services related to energy production.

The Company’s products and technologies harness resources, such as oil, gas, coal, diesel, and

nuclear to produce electric power and include gas and steam turbines.

       47.     GE Power includes a number of divisions that each provides customers different

product and services offerings. The Power Services division delivers maintenance, service, and

upgrade solutions for the GE products, such as gas turbines. GE contracts with customers to

provide servicing and maintenance on those products pursuant to long-term services agreements.

       48.     GE Power is the largest segment within the Industrial segment of GE’s business

and is a significant driver of overall revenue. Indeed, the GE Power segment generated $26.8

billion of GE’s overall revenue of $123.7 billion in 2016 and $36.0 billion of GE’s overall revenue

of $122.1 billion in 2017, representing approximately 30% of GE’s total revenue in 2017.

Defendants Caused the Company to Issue the False and Misleading 2017 Proxy Statement

       49.     On March 8, 2017, the Company filed its proxy statement on Form DEF 14A with

the SEC for the 2017 annual meeting of shareholders (the “2017 Proxy”). The 2017 Proxy

described director responsibilities, the duties of each committee, Board risk management, and

provided information about the director nominees up for reelection.

       50.     In the 2017 Proxy, the Company emphasized its supposed past and current efforts

to establish and enforce effective controls over financial reporting. The 2017 Proxy stated, in part,




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                The Board has oversight for risk management at GE with a focus on
                the most significant risks facing the company, including strategic,
                operational, financial and legal and compliance risks.

                GE uses a broad set of financial metrics to measure its performance,
                and accurate financial reporting and robust auditing are critical to
                our success. We have added a number of directors who qualify as
                audit committee financial experts, and we expect all of our directors
                to have an understanding of finance and financial reporting
                processes.

        51.     The above statements were false and misleading and omitted material information

because the Board has, and continues to, knowingly disregard its oversight responsibility in the

area of financial reporting and has ratified GE’s past egregious and systemic financial

misreporting, as detailed below.

                  False and Misleading Statements During the Relevant Period

        52.     At the beginning of the Relevant Period, on December 14, 2016, the Company held

an annual meeting with investors and analysts to provide forecasts for the upcoming year. During

the conference call, the Company provided the following forecasts for 2017: EPS of $1.60 to $1.70

and GE Capital dividend of $6 billion to $7 billion. Then-CEO Defendant Immelt represented that

the guidance provided was supported by “very strong pipeline not just in the Power business but

across the portfolio . . . .”

        53.     Also on the December 14, 2016 conference call, one analysts from JPMorgan noted

that the “$6 billion to $7 billion GE Capital dividends to [GE]” was a “little bit below what [the

Company] had initially laid out,” and raised his concern about anticipated cash flows and dividends

from GE Capital.        Responding, Defendant Bornstein represented that the dividends were

sustainable, and that GE Capital was performing well on cash flows, stating: “[w]e pulled

dividends [from 2017] into 2016. We are actually several billion dollars ahead of the plan that

we gave you, we are not behind plan.”



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       54.     On January 20, 2017, the Company hosted a conference call with analysts and

investors to announce and discuss the Company’s fourth quarter and annual 2016 financial results.

On the conference call, Defendant Bornstein reiterated the above 2017 EPS forecast, CFOA, and

dividend guidance, in particular highlighting strong growth in GE’s power segment:

       Our outlook for Power remains consistent with the expectations shared at the
       outlook meeting, albeit off a lower base. As we said in December, we expect
       double-digit earnings growth in Power in 2017.

(Emphasis added).

       55.     Also on the January 20, 2017 conference call, Defendant Immelt noted that cash

flow would be improved by selling off aging inventory, stating “[w]e expect inventory to go down

$2 billion next year. And we think that’s going to give us a ton of momentum as it pertains to

CFOA and working capital in 2017.”

       56.     On February 24, 2017, the Company filed its annual report on Form 10-K for the

year ended December 31, 2016 with the SEC (the “2016 10-K”), signed by Defendants Immelt

and Bornstein. The 2016 10-K stated Company’s financial results and position and contained

signed certifications pursuant to the Sarbanes-Oxley Act (“SOX”) by Defendants Immelt and

Bornstein specifically certifying the following:

       1. I have reviewed this report on Form 10-Q of General Electric Company;

       2. Based on my knowledge, this report does not contain any untrue statement of
       a material fact or omit to state a material fact necessary to make the statements
       made, in light of the circumstances under which such statements were made, not
       misleading with respect to the period covered by this report;

       3. Based on my knowledge, the financial statements, and other financial
       information included in this report, fairly present in all material respects the
       financial condition, results of operations and cash flows of the registrant as of, and
       for, the periods presented in this report;

       4. The registrant’s other certifying officer(s) and I are responsible for establishing
       and maintaining disclosure controls and procedures (as defined in Exchange Act



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      Rules 13a-15(e) and 15d-15(e)) and internal control over financial reporting (as
      defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

             a. Designed such disclosure controls and procedures, or caused such
             disclosure controls and procedures to be designed under our supervision, to
             ensure that material information relating to the registrant, including its
             consolidated subsidiaries, is made known to us by others within those
             entities, particularly during the period in which this report is being prepared;

             b. Designed such internal control over financial reporting, or caused such
             internal control over financial reporting to be designed under our
             supervision, to provide reasonable assurance regarding the reliability of
             financial reporting and the preparation of financial statements for external
             purposes in accordance with generally accepted accounting principles;

             c. Evaluated the effectiveness of the registrant’s disclosure controls and
             procedures and presented in this report our conclusions about the
             effectiveness of the disclosure controls and procedures, as of the end of the
             period covered by this report based on such evaluation; and

             d. Disclosed in this report any change in the registrant’s internal control
             over financial reporting that occurred during the registrant’s most recent
             fiscal quarter (the registrant’s fourth fiscal quarter in the case of an annual
             report) that has materially affected, or is reasonably likely to materially
             affect, the registrant’s internal control over financial reporting; and

      5. The registrant’s other certifying officer(s) and I have disclosed, based on our
      most recent evaluation of internal control over financial reporting, to the
      registrant’s auditors and the audit committee of the registrant’s board of directors
      (or persons performing the equivalent functions):

             a. All significant deficiencies and material weaknesses in the design or
             operation of internal control over financial reporting which are
             reasonably likely to adversely affect the registrant’s ability to record,
             process, summarize and report financial information; and

             b. Any fraud, whether or not material, that involves management or other
             employees who have a significant role in the registrant’s internal control
             over financial reporting.

(Emphasis added).

      57.    On March 8, 2017, the Company held a meeting with investors focusing on its

Power and Renewable Energy segments.          During the meeting, Defendant Bornstein again




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reiterated the strength of the Company’s power segment, noting “[w]e feel really good about the

power business and what is otherwise a pretty flat market and a really tough set of geographies.”

Defendant Bornstein also reiterated his confidence in 2017 free cash flow.

         58.     On April 21, 2017, the Company held a conference call for analysts and investors

to discuss GE’s first quarter 2017 results. During the conference call, Defendant Bornstein noted

that the Company would still deliver on its 2017 free cash flow guidance and again touted the

Company’s power segment:

         In Power, we didn’t collect on several delinquent accounts in tough regions around
         the world, but we expect to collect these throughout the rest of the year, including
         in the second quarter . . . . Power had a very strong organic growth quarter on
         higher Aero turbines and higher gas turbine shipments . . . . Our view for the year
         of mid-single-digit organic growth has not changed.

(Emphasis added).

         59.     On June 12, 2017, the Company issued a press release announcing that Defendant

Immelt would be stepping down from his position as CEO effective July 31, 2017 and Chairman

of the Board effective October 2, 2017.

         60.     During Defendant Immelt’s tenure as CEO of GE, he oversaw a 30% decline in the

Company’s stock price, and a loss of nearly $150 billion in market value.2 Despite that fact, at his

departure, Defendant Immelt was handsomely rewarded. While the Company does not give

departing employees severance agreements per se, it does allow executives to receive the majority

of their stock and stock option grants in full upon departure, even if the executive would ordinarily

need to continue their employment with the Company in order to receive them. At his departure,

Defendant Immelt was eligible to collect more than $39 million, on top of the nearly $82 million

in pension benefits pursuant to his employment agreement. In addition, Defendant Immelt had



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    http://fortune.com/2017/06/12/ge-ceo-jeff-immelt-net-worth/.

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more than $75 million in GE stock at the time of his departure from the Company, and along with

other retirement benefits, Defendant Immelt stood to receive almost $211 million in total at the

time of his departure from the Company.

       61.    On July 21, 2017, Defendants caused the Company to issue a press release in which

it announced earnings for the second quarter 2017. The Company stated that it had net earnings

of $1.2 billion or $0.13 per share, on total revenues of $29.6 billion. In addition, the Company

provided guidance of $1.60-$1.70 per share.

       62.    The July 21, 2017 press release also provided an overview of the Company’s major

transactions by segment:

       INDUSTRIAL DEAL HIGHLIGHTS

       POWER:
       9 HA gas turbine orders in 2Q with 33 units in backlog
       Won largest Power Services agreement in history - more than $3 billion - to support
       a large volume of power in Algeria with Sonelgaz, including 68 Advanced Gas Path
       upgrades (AGPs)
       Won $200+ million fast power and digital services contracts to supply power for
       up to 15% of the population of Angola

       RENEWABLE ENERGY:
       Won contract to supply Invenergy’s 300MW wind farm in Texas with 120 GE2.5-
       116 turbines
       First large-scale pilot of Digital Hydro Plant with Fortum in Sweden

       OIL & GAS:
       Combined Baker Hughes and GE Oil & Gas to create BHGE in 3Q; world’s first
       fullstream oil and gas company
       Deal for subsea production systems, equipment, and service for Mozambique
       offshore development project, making us the first subsea supplier in Mozambique
       and East Africa

       HEALTHCARE:
       Announced 10-year collaboration with Partners Healthcare to develop Artificial
       Intelligence medical platforms and solutions
       Signed agreement with Humber River Hospital in Canada to install a digital
       Command Center, using predictive analytics to target improved clinical,
       operational and financial outcomes



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       Announced deal to install India’s first-ever FlexFactory to expand biologics
       production in Hyderabad, India

       TRANSPORTATION:
       Signed letter of intent with Ministry of Transportation and Egyptian National
       Railways worth $575 million for locomotives and 15-year agreement for parts and
       technical support

       ENERGY CONNECTIONS:
       Introduced world’s first battery-gas turbine hybrid system with Southern California
       Edison
       India’s first-ever LV5 solar inverter solution deployment with 25-year long-term
       service agreement; largest executed order to date in the country

       AVIATION:
       Announced more than $31 billion-a) in orders and commitments at the Paris Air
       Show
       Signed $3 billion long-term CFM LEAP-1B engine-b) support agreement with
       VietJet Air
       Awarded $1 billion contract from U.S. Army for 2,500 T700 engines

       GLOBAL GROWTH:
       Signed $15 billion of MoUs and agreements for industrial project development and
       capacity building in Saudi Arabia

       CURRENT, POWERED BY GE:
       Announced second phase of JPMorgan Chase collaboration to reduce their global
       energy consumption by 15% across 4,500 branches
       Signed UK’s largest LED deal with Sainsbury’s to switch to 100% LED lighting in
       its stores

       DIGITAL:
       Signed Predix digital solutions agreement with Saudi Ministry of Health to enable
       digital hospitals
       IDC MarketScape recognized GE Digital as a leader in IoT solutions in its IDC
       MarketScape: IoT Platform 2017 Vendor Assessment

       63.    The July 21, 2017 press release also again attempted to assure investors that the

Company’s power segment was in fact a strength, with Defendant Immelt stating that “[w]e have

created a very strong position in Power” and that the Company expects “cash flow to continue to

improve throughout the year.”




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        64.     Also on July 21, 2017, the Company held a conference call with investors and

analysts to discuss the above results. On the conference call, the Company reiterated that its power

segment was a strength, providing false assurance of GE’s cash flow position. In particular,

Defendant Bornstein stated that the Company expected “[p]ower business to deliver a positive

CFOA in the year for sure” and that “all the other elements of cash flow will be better in the second

half than the first half and will be better substantially versus 2016.”

        65.     During the conference call, the Company stated that it recently had an “adverse

claims experience” in a portion of its long-term care portfolio and that it would “assess the

adequacy of our premium reserves.” While this partially revealed a looming issue at GE Capital,

it did not provide any context as to the scope of the actual problem. Following this news, the

Company’s stock fell nearly 3%, or $0.78 per share, closing at $25.91 on July 21, 2017.

        66.     A week later, on July 28, 2017, GE filed its quarterly report on Form 10-Q with the

SEC, restating the results disclosed by the July 21, 2017 press release above. The July 28, 2017

10-Q contained materially misleading statements concerning the Company’s business, operations,

and prospects and contained signed SOX certifications by Defendants Immelt and Bornstein.

        67.     During 2016 and 2017 GE falsely reported the financial condition of its failing

insurance sectors – UFLIC and Employers Reassurance Corporation (“ERAC”) (the “GE

insurance sectors”) – which operate as subsidiaries of GE Capital.

        68.     As a result of policyholders living longer and incurring higher medical costs than

insurers had built into their assumptions for policies written in the late 1980’s through the early

2000’s (such as those written or reinsured by GE), insurers issuing or reinsuring LTC insurance

policies (which pay for products such as nursing-home care for the elderly) have suffered hundreds

of billions of dollars of losses.




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       69.     By the early 2000’s, the lion’s share of companies in the LTC insurance business,

including GE, stopped writing or reinsuring new LTC policies since the policies created huge

exposure (due to expanding life expectancies and medical costs) and was inherently unprofitable.

Analysts estimate that of those companies still holding and liable for LTC policies written under

the incorrect assumptions of the late 1980’s and early 2000’s, the industry-wide gap between LTC

insurance claims and reserves could soon surpass $300 billion.

       70.     It was only because no party was willing to accept GE’s huge LTC insurance

liabilities that GE’s LTC insurance policies and reinsurance contracts were carved out of the deal

spinning off the profitable portions of its insurance segment over a decade ago.

       71.     GE has not sold new LTC insurance policies or reinsured the same for over a decade

and its insurance sector primarily handles closed books of long-duration business, i.e. collecting

premiums and paying liabilities of long existing policies. Though GE hid the truth from its

investors, in regards to LTC insurance policies the GE insurance sector has long been, in essence,

the custodian of toxic assets.

       72.     GE was well aware that it shared this industry wide exposure in its LTC business,

but none the less, the Company’s insurance sectors, including its LTC insurance portfolio, were

left essentially unaudited, permitting the Company to understate its required LTC reserves by

billions of dollars. In 2015, the GE Board was explicitly notified that GE’s insurance sector had

been left unaudited for years.

       73.     On July 21, 2017, the Company held a conference call with investors and analysts

in which the Company stated that it recently had an “adverse claims experience” in a portion of its

long-term care portfolio and that it would “assess the adequacy of our premium reserves.” While

this partially revealed a looming issue at GE Capital, it did not provide any context as to the true




                                                18
source, size or scope of the actual under-reserves. Following this news, the Company’s stock fell

nearly 3%, or $0.78 per share, closing at $25.91 on July 21, 2017.

       74.     On January 16, 2018 GE shocked investors when it announced that the Company

would have to pay $15 billion for reserves to cover its underpayment of reserves for likely LTC

liabilities, with the result that anticipated earnings and dividends were drastically reduced and the

Company’s stock dropped over 7.5% in the following several trading days following the

announcement.3

       75.     The January 16, 2018 $6.2 billion charge (resulting from the suddenly announced

$15 billion set aside for reserves) did not mysteriously materialize overnight or in a year. Rather,

it resulted from over a decade’s worth of the Company’s intentional underreporting of potential

LTC liabilities. Concerning the news, CEO Defendant Flannery stated “At a time when we are

moving forward as a company, a charge of this magnitude from a legacy insurance portfolio in

runoff for more than a decade is deeply disappointing.”

       76.     The only fashion in which GE was able to for over a decade underreport its required

LTC reserves by billions of dollars, was by not updating assumptions of life expectancy and health

care costs, working with stale assumptions, and, making improper projection model changes so as

to falsely understate the amount the Company was required to set aside as reserves for likely future

liabilities from its LTC insurance business, all in violation of GAAP and statutory insurance

regulations.

       77.     The huge unreported liabilities associated with GE’s retention of unprofitable LTC

insurance policies had been long known to the many dozens of GE executives, accountants,



3
  GE had been required to make a capital contribution of $964 million in 2012 and $419 million
in 2016, which the Company did not include in its financial statements.



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actuaries and other employees, who actively participated in altering of LTC actuarial projections

and other financial data so as to conceal the extent of the Company’s LTC liability from investors.

       78.        In light of the nature of the above described misstatements in terms of size (billions

of dollars of misstatements), time duration (the Company is restating its 2016 and 2017 earnings),

flagrancy (with the Board being informed that the insurance sector was not even conducting

audits), and obviousness of fraudulent intent (alterations of fundamental actuarial projections is

required in order to understate reserves by billions of dollars), it was apparent to the Director

Defendants that the execution of such a massive ongoing massive misstatement of the finances of

GE’s insurance sector required the knowing involvement of a large number of GE employees (“the

GE financial misreporting conspiracy”). The Board became aware that there existed a corporate-

wide culture of corruption in the area of financial reporting at GE.

       79.        It was clear to the Board that the execution of the GE financial reporting conspiracy

over the course of the past decade required the knowing involvement of the following persons

(along with many others): Dan Janki, GE’s Treasurer, Kevin McCord, GE Capital’s Director of

Internal Audit, Joseph Pizzuto, GE Capital’s former Chief Audit Executive, Ryan Zanin, GE

Capital’s Chief Risk Officer, Ronald Peters, ERAC’s CEO, Clark Ramsey, ERAC’s Chief

Actuary, David Benz, LTC Managing Actuary, David Benz, and, importantly, KPMP, GM’s

auditor.

       80.        On January 24, 2018, the Company filed an 8-K with the SEC announcing its fourth

quarter results for 2017. The Company reported EPS of $0.28 on revenue that fell 5% year over

year to $31.4 billion. This was short of analysts’ expectations of $0.28 per share on revenue of

$33.93 billion.




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          81.    In addition, during a conference call that same day, the Company noted that SEC

regulators were investigating the $6.2 billion insurance loss revealed by the Company on January

16, 2018, and that the SEC was also investigating the Company’s accounting practices, specifically

looking into “revenue recognition and controls” for the Company’s long-term service agreements.

In response, the Company noted that it would restate its 2016 and 2017 quarterly numbers to reflect

“new accounting standards.”

          82.    The lack of proper audits of GE’s insurance business and inaccuracy of financial

reporting was brought to the attention of the company’s Board of Directors and Audit Committee,

and as a result of the lack of controls and misreporting, the Company failed to significantly increase

its long term care insurance LTC reserves by any material amount throughout the entire Relevant

Period.

          83.    The Federal Reserve investigated GE Capital’s insurance subsidiaries’ controls and

found them deficient leading to an ongoing series of reports concerning the serious deficiencies,

all of which was provided to the Board of Directors on a quarterly basis during the Relevant Period.

Reflective of a corporate wide culture encouraging fixing the books, numerous employees

reporting negative information received push back on the reporting thereof in connection with the

above process.

          84.    Upon information and belief, the Board forced the resignation or retirement of a

number of high level executives who led the GE financial misreporting conspiracy, including

former CEO Defendant Immelt, “resignation” July 31, 2017; former CFO Defendant Bornstein,

“resignation” November 1, 2017; Vice Chairman, President and CEO, GE Global Growth

Organization, John Rice, “retirement,” December 31, 2017; and, Vice Chairman Business

Innovations, Elizabeth Comstock, “retirement,” December 31, 2017.




                                                 21
       85.     Despite having taken action against several executives for leading the GE financial

misreporting conspiracy, the Board has failed to initiate any investigatory, disciplinary, or

corrective action against the GE financial reporting personnel who actually executed the massive

misreporting in various sectors of the Company.

       86.     Despite the Board’s awareness that GE’s massive financial misreporting was

indicative of a corporate-wide culture of corruption in the area of financial reporting, the Board

has taken no meaningful steps to: (1) identify offending parties who knowingly participated in the

misreporting; (2) create and institute specific policies (to prevent such misconduct in the future)

to be enforced by specific persons (or positions) with specific delineated responsibilities and

reporting obligations, to oversee risk prevention in the area of financial reporting; and, (3) create

a committee to investigate the causes of the massive financial misreporting of 2016 and 2017.

       87.     By its above described failure to take reasonable action to identify the offending

employees who participated and executed GE’s massive financial misreporting conspiracy, and by

its above described failure to take reasonable corrective action in response to GE’s massive

financial misreporting conspiracy, the Director Defendants have in effect ratified that conduct and

indicated their willingness to knowingly tolerate it in the future.

       88.     The above statements were materially false and misleading when made because

Defendants failed to disclose: (1) the Company was overstating profitability on Contract Assets

with respect to GE Power’s LTSAs, and, that the Company’s various operating segments,

including its Power segment, were underperforming Company projections, with order drops,

excess inventories and increased costs; (2) GE’s LTC reserves were being materially understated

by billions of dollars as a result the Company overstated GE’s full year 2017 guidance; and (3)




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that, as a result of the foregoing, Defendants’ misstatements about the Company’s business,

operations, and prospects, were false and misleading and/or lacked a reasonable basis.

       89.    On October 6, 2017, the Company announced that, effective November 1, 2017,

Defendant Bornstein would no longer be the Company’s CFO. In connection with his departure,

Defendant Bornstein entered into an agreement pursuant to which he will be provided certain

compensation arrangements by GE, including:

       1) Mr. Bornstein will receive up to 12 months of severance pay at his current salary
       rate as set forth in the 2017 Proxy Statement; (2) Mr. Bornstein will be eligible to
       receive a 2017 annual cash bonus and a prorated 2016-2018 long-term performance
       award payment based upon the Company’s actual performance, each in accordance
       with GE's normal processes; (3) Mr. Bornstein’s 2017 grants of stock options,
       restricted stock units and performance share units will be cancelled, along with
       those stock options and restricted stock units granted prior to 2017 for which
       vesting is not accelerated (as described below); (4) Mr. Bornstein’s outstanding
       stock options granted prior to 2017 and that would have normally vested during the
       next two years will vest (to the extent not already vested) in January 2018 and have
       up to a two-year post-retirement exercise period; (5) Mr. Bornstein’s outstanding
       restricted stock units that were granted prior to 2017 and that would have normally
       vested during the next two years will vest in January 2018; (6) Mr. Bornstein’s
       outstanding performance share units that were granted before 2017 will remain
       eligible to vest based on actual Company performance; and (7) Mr. Bornstein will
       vest at age 60 under the GE Supplementary Pension Plan with benefits based on his
       approximately 28 years of service as of the retirement date.

Form 8-K, filed with the SEC on October 6, 2017.

       90.    On October 20, 2017, Defendants caused the Company to issue a press release

announcing its financial results for the third quarter 2017. The Company reported EPS of $0.29,

falling short of estimates of $0.49 per share. In addition, the Company also stated that it was

lowering is previously announced 2017 earnings expectations, lowering EPS to $1.05-$1.10 from

$1.60-$1.70

       91.    Also on October 20, 2017, Defendants held a conference call to discuss the above

results. On the call, the Company’s CEO Defendant Flannery (who had taken over the position




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after Defendant Immelt’s departure) stated “[w]hile the company has many areas of strength, it’s

also clear from our current results that we need to make some major changes with urgency and a

depth of purpose. Our results are unacceptable, to say the least.”

       92.     The Company largely blamed the disappointing results on its power segment, with

Defendant Flannery stating that the Company’s CFOA was down due to “lower than anticipated

Power volume which was resulted in lower earnings and higher inventory . . . .” Defendant

Bornstein also stated the following:

       [W]e have recently observed elevated claims experience for a portion of the long-
       term care at GE Capital’s legacy insurance business, which represents $12 billion
       or roughly 50% of our insurance reserves.

                                       *     *        *

       [The Company] began a comprehensive review in the third quarter of premium
       deficiency assumptions that are used in the annual claims reserve adequacy test.
       This is a very complex exercise, and the team is making good progress. We expect
       to complete this process by the end of the year.

       93.     In addition, the Company also announced that it had suspended further dividends

from GE Capital.

       94.     Following the news, the Company stock fell nearly 7% or $1.51 per share on

October 23, 2017, closing at $22.32.

       95.     On November 7, 2017, the Washington Post published an article entitled “Who’s

to Blame for GE’s Plight? It Takes a Village: Gadfly,” which stated, in pertinent part:

       GE got a pass from too many people for too long because, well, it's GE -- a beacon
       of American industry and operational excellence that traces its roots to Thomas
       Edison. That time has ended. Someone has to answer for GE's downward spiral,
       starting here:

       Management: GE's former CEO Jeff Immelt has received the brunt of criticism, and
       he deserves it. Immelt spent grandly on energy and power deals just as those
       markets slipped into a decline that's largely responsible for GE's recent earnings
       struggles and cash shortfall. But he wasn't a one-man show. Steve Bolze, former



                                                 24
       head of GE's power unit and once a top contender to succeed Immelt, didn't respond
       quickly enough to weakening demand. And former CFO Jeff Bornstein could be
       just as much a cheerleader as Immelt on overly optimistic forecasts -- and he was
       the numbers guy. Bornstein took public responsibility, noting on GE's recent
       earnings call that "the buck stops with me." Given that he was on his way out at the
       time, it's to his credit that he showed up at all, and it's a lot more than we've heard
       from Immelt. But this falling-on-the-sword rhetoric will only go so far with
       investors. Depending on how bad things get, they may seek clawbacks of hefty pay
       packages.

       The Board: GE's fall from grace has exposed a deeper oversight crisis, starting with
       the company's practice of having an empty private jet tail Immelt. GE was under
       pressure to cut billions in costs, but the board and Immelt were reportedly unaware
       of the second plane. At best, this drama is an embarrassing sideshow. At worst, it
       should spark concern about what else the upper ranks of GE didn't question
       thoroughly. For example, why did Beth Comstock, head of GE's Business
       Innovations unit, receive the same 2016 special retention grant as fellow vice chair
       and head of GE's crown-jewel aviation unit David Joyce? Why did GE need vice
       chairs at all? There were 17 external advisors on GE's board. In its most recent
       proxy statement, GE said its larger-than-average board was necessary, given the
       diversity and complexity of its business. The extra sets of eyes don't seem to have
       helped much.

(Emphasis added).

       96.     On November 13, 2017, the Company held an Investor Update and revealed that it

would be slashing its annual dividend in half, from $0.96 to $0.48 per share. This would mark

only the second dividend cut by the Company since the Great Depression. The Company noted

that after realizing its industrial business had not grown as previously expected, it would no longer

be appropriate to keep the same dividend rate.

       97.     In addition, the Company lowered it 2018 profit outlook to an adjusted EPS of

$1.00 to $1.07, compared to earlier estimates of $2 per share. The Company further stated that it

would reduce its corporate workforce, by 25% (approximately 6,000 jobs).

       98.     On this news, the Company’s stock price fell over 7% or $1.47 per share, closing

at $19.02 on November 13, 2017.




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       99.     On November 14, 2017, the Company attended a conference sponsored by

Goldman Sachs Group Inc., where CFO Jamie Miller (who replaced Defendant Bornstein upon

his departure) stated that the Company was undergoing a review of its insurance reserves and that

“[w]e had announced earlier that we had deferred the decision on a GE Capital dividend of about

$3 billion in the second half of the year. At this point in the process, I’d tell you that I expect

that charge to be more than that . . . .”

       100.    Following this news, GE’s stock fell nearly 6%, or $1.12 per share, to close at

$17.90 per share on November 14, 2017.

       101.    On January 16, 2018, the Company filed a Form 8-K with the SEC disclosing that

it was taking a $6.2 billion charge in the upcoming quarter from GE Capital and that GE Capital

was also setting aside $15 billion to cover the costs of health insurance companies’ policies that it

re-insures. Commenting on the news, CEO Defendant Flannery stated “At a time when we are

moving forward as a company, a charge of this magnitude from a legacy insurance portfolio in

runoff for more than a decade is deeply disappointing.”

       102.    Upon information and belief, dozens of non-executive employees either knew of or

participated in the falsification of earnings and projections at GE Capital and other sectors of GE,

including the alteration – in the Company’s favor – of GE subsidiary Employers Reassurance

Corporation’s liability cash flows and loss recognition established by actuaries. These highly

significant alterations were routinely made by Employers Reassurance Corporation executives,

without any basis, justification, reasoning or documentation.

       103.    On January 23, 2018, Matt Egan published an article on CNN Money entitled “GE’s

‘black box’ mystery is freaking Wall Street Out.” The article summarized the recent problems at

GE, stating that “In just the past few months, GE has halved its coveted dividend, disclosed a




                                                 26
massive insurance loss, revealed 12,000 layoffs in its power division and signaled it could break

itself apart . . . . Fear of the unknown has caused GE shares to tank to a six-year low ahead of

Wednesday’s earnings report.”

       104.       The January 23, 2018 article also quoted UBS analyst Steven Winoker, who warned

of unknown problems “still lurking in (or off) GE’s balance sheet,” in particular in the Company’s

lending unit. Winoker estimated that the problems could cost “between $4 billion and $6 billion.”

       105.       On January 24, 2018, the Company filed an 8-K with the SEC announcing its fourth

quarter results for 2017. The Company reported EPS of $0.28 on revenue that fell 5% year over

year to $31.4 billion. This was short of analysts’ expectations of $0.28 per share on revenue of

$33.93 billion.

       106.       In addition, during a conference call that same day, the Company noted that SEC

regulators were investigating the $6.2 billion insurance loss revealed by the Company on January

16, 2018, and that the SEC was also investigating the Company’s accounting practices, specifically

looking into “revenue recognition and controls” for the Company’s long-term service agreements.

In response, the Company noted that it would restate its 2016 and 2017 quarterly numbers to reflect

“new accounting standards.”4

       107.       The announcements raised red flags regarding the internal controls in place at the

Company.      For instance, Lynn Turner, former chief accountant at the SEC, noted that the

announced problems raise questions concerning GE’s controls and bookkeeping, stating “GE

seems to be way behind the 8-ball on this. Others have been boosting reserves and GE hasn’t . . .




4
 https://www.ge.com/investor-relations/sites/default/files/GE%204Q17%20Earnings%20
Transcript%20012418.pdf

                                                  27
. GE has a reputation for questionable and nontransparent financial reports that play too close to

the line when it comes to accounting.”

       108.    On February 22, 2018 Michelle Fox of CNBC published an article entitled “GE has

been ‘brushing things under the rug’ for decades, Deutsche Bank analyst says.” In the article, Fox

reported that John Inch of Deutsche Bank was of the opinion that the Company has been “brushing

things under the rug and leveraging aggressive accounting” for several decades. “One could infer

the prior management basically did this to drive the … adjusted EPS up as much as possible to pay

themselves as much as possible,” Inch said in an interview with CNBC’s Power Lunch.

       109.    Further, Inch stated, there are “a lot of parties that are culpable here. The

information they provided was one-sided. They made it overly complicated to dissect the

financials. They compounded the complexity on purpose so people wouldn’t look at the details.”

Inch added, “Now unfortunately they’re paying a bit of a price for it.”

       110.    As a result of the widespread financial misreporting at GE during the 2016 and

2017, GE’s LTC reserves were understated by approximately $10 billion in violation of GAAP

and by $15 billion in violation of state statutory regulations.

       111.    In the days following this news, the Company’s stock price has continued to fall,

closing at $12.98.

                                 DAMAGES TO THE COMPANY

       112.    GE has been, and will continue to be, severely damaged and injured by the

Defendants’ misconduct. As a direct and proximate result of the Defendants’ conduct, GE has

been seriously harmed and will continue to be. Such harm includes, but is not limited to:

               a. costs incurred in compensation and benefits paid to Defendants that violated

                     federal securities laws;




                                                 28
               b. substantial loss of market capital;

               c. costs already incurred and to be incurred defending the pending securities fraud

                   class action lawsuit pending before this Court captioned Hachem v. General

                   Electric, Inc., Case No. 1:17-cv-08457 (S.D.N.Y.); and

               d. any fines or other liability resulting from the Company’s violations of federal

                   law.

       113.    In addition, GE’s business, goodwill and reputation with its business partners,

regulators and shareholders have been gravely impaired.           The credibility and motives of

management are now in serious doubt.

       114.    The wrongdoing complained of herein has irreparably damaged GE’s corporate

image and goodwill. For at least the foreseeable future, GE will suffer from what is known as the

“liar’s discount,” a term applied to the stocks of companies who have been implicated in illegal

behavior and have misled the investing public, such that GE’s ability to raise equity capital or debt

on favorable terms in the future is now impaired.

                  DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       115.    Plaintiff brings this action derivatively in the right and for the benefit of GE to

redress injuries suffered, and to be suffered, by GE as a direct result of violations of federal

securities laws by the Defendants. GE is named as a Nominal Defendant solely in a derivative

capacity. This is not a collusive action to confer jurisdiction on this Court that it would not

otherwise have.

       116.    The Board of GE, at the time this action was commenced, consisted of Defendants

Flannery, Bazin, Beattie, Brennan, D’Souza, Dekkers, Garden, Henry, Hockfield, Jung, Lavizzo-

Mourey, Lazarus, Mollenkopf, Mulva, Rohr, Schapiro and Tisch, a total of 17 individuals.




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                          Demand is Futile as to all Director Defendants

        117.    Plaintiff has not made any demand on the Board to institute this action because a

pre-suit demand on the GE Board would be futile, and therefore, excused. This is because a

majority of the Board faces a substantial likelihood of liability as a result of their knowing

toleration of the above described conspiracy of false and misleading statements and omissions of

material adverse facts, which render them unable to impartially consider a demand to pursue the

wrongdoing alleged herein.

        118.    Upon information and belief, in their capacity as members of the Company’s Board,

the Director Defendants were privy to specific information related to the Company’s business and

financial prospects, which would reasonably put them on notice that the statements they were

making were in fact false and misleading.

        119.    Each of the Director Defendants were responsible for reviewing and approving the

Company’s public statements made in press releases and financial filings with the SEC throughout

the Relevant Period. By authorizing the false and misleading statements and material omissions

and described above during the Relevant Period concerning the Company’s business and

prospects, each of the Director Defendants knowingly faces a substantial likelihood of liability for

their participation in the illicit acts alleged herein.

        120.    In light of the nature of the above described misstatements in terms of size (billions

of dollars of misstatements), scope (misstatements relating to several business sectors), and time

duration (the Company is restating its 2016 and 2017 earnings), once made public it was apparent

to the Director Defendants that the execution of such a massive ongoing misstatement of earnings

and prospects required the knowing involvement of a large number of GE employees (“the GE

financial misreporting conspiracy”). The Board became aware that there existed a corporate-wide




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culture of corruption in the area of financial reporting at GE.

       121.    Upon information and belief, the Company has forced the resignation or retirement

of a number of high level executives who led the GE financial misreporting conspiracy, including

former CEO Defendant Immelt, “resignation” July 31, 2017; former CFO Defendant Bornstein,

“resignation” November 1, 2017; Vice Chairman, President and CEO, GE Global Growth

Organization, John Rice, “retirement,” December 31, 2017; and, Vice Chairman Business

Innovations, Elizabeth Comstock, “retirement,” December 31, 2017.

       122.    Despite having taken action against executives who led the GE financial

misreporting conspiracy, upon information and belief, the Board has failed to initiate any

meaningful investigatory, disciplinary, or corrective action against the lower level GE financial

reporting personnel who executed the massive misreporting in various sectors of the Company.

       123.    Despite the Board’s awareness that GE’s massive financial misreporting was

indicative of a corporate-wide culture of corruption in the area of financial reporting, the Board

has taken no meaningful steps to: (1) identify offending parties who knowingly participated in the

misreporting, including the delegation of the responsibility to investigate the causes of the massive

misreporting of 2016 and 2017 earnings; or, (2) create and institute specific policies to be enforced

by specific persons (or positions) with specific delineated responsibilities and reporting

obligations, to oversee the risk of corrupt employee practices in the area of financial reporting.

       124.    By its above described failure to take reasonable action to identify the offending

non-executive employees who participated in the execution of GE’s massive financial

misreporting conspiracy, and by its above described failure to take reasonable corrective action in

response to GE’s massive financial misreporting conspiracy, the Director Defendants have ratified

that past conduct and indicated their willingness to knowingly tolerate it in the future.




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        125.    By presently knowingly tolerating the GE financial misreporting conspiracy as

detailed above, the Director Defendants have indicated their commitment to inaction in this area.

By their above described inaction, Defendants have established a reasonable doubt as to their

impartiality to consider demand to take action against those responsible for the GE financial

misreporting conspiracy. Accordingly, the Director Defendants face a sufficiently substantial

likelihood of liability such as to create a reasonable doubt as to their impartially consider a demand

to sue themselves in the present action.

                   Demand is Futile as to Defendant Flannery Because His
         Principal Professional Occupation is as the Company’s Chairman and CEO

        126.    Defendant Flannery has been the Company’s Chairman and CEO since August 1,

2017 and a director of the Company since October 2, 2017. In his role as CEO of the Company

for the fiscal year 2017, Defendant Flannery received $16,005,604 in total compensation. The

Company does not claim that Defendant Flannery is an independent director and because

Defendant Flannery’s primary source of income and primary employment is his employment as

Chairman and CEO of GE and his professional reputation is inextricably bound to his role at GE.

For these reasons, there exists a reasonable doubt as to Defendant Flannery’s ability to act

independently and impartially in considering demand in this action and demand is futile upon him.

                  Demand is Futile as to the Members of the Audit Committee

        127.    Demand is futile as to Defendants Schapiro, Bazin, Beattie, Henry, Mulva, and

Rohr (collectively, the “Audit Committee Defendants”) as the members of the Audit Committee

in their knowing failure to fulfill their responsibilities.

        128.    The Board of Directors adopted an Audit Committee Charter, setting forth the

responsibilities of the Audit Committee. The Audit Committee Charter notes that the purpose of

the Audit Committee “shall be to assist the board in its oversight of the integrity of the financial



                                                   32
statements of the Company, of the Company’s compliance with legal and regulatory requirements,

of the independence and qualifications of the independent auditor and of the performance of the

Company's internal audit function and independent auditors.” In addition

       129.    Upon information and belief, in their capacity as members of the Audit Committee,

the Audit Committee Defendants were privy to specific information related to the Company’s

business, operations, and prospects, which would reasonably put them on notice that the statements

set forth above in the Company’s public filings were materially false and misleading when made.

       130.    The Company’s public filings concerning the Company’s business and prospects

during the Relevant Period contained materially misleading information and/or omitted material

information concerning the true nature of the Company’s financial stability, or lack thereof. In

their capacity as members of the Audit Committee, the Audit Committee Defendants were charged

with ensuring that these reports did not contain such materially misleading information. By

allowing documents to be filled with misleading information, the Audit Committee Defendants

face a sufficiently significant likelihood of liability so as to render them interested. Accordingly,

the Audit Committee Defendants cannot adequately independently consider a demand.

                             Additional Reason for Demand Futility

       131.    GE’s officers and directors are protected against personal liability for their acts of

mismanagement and violations of federal securities law alleged in herein by directors’ and

officers’ liability insurance which they caused the Company to purchase for their protection with

corporate funds, i.e., monies belonging to the stockholders of GE. Upon information and belief,

however, there have been certain changes in the language of directors’ and officers’ liability

insurance policies in the past few years and the directors’ and officers’ liability insurance policies

covering the Defendants in this case contain provisions that eliminate coverage for any action




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brought directly by GE against these Defendants, known as, inter alia, the “insured versus insured

exclusion.” As a result, if these directors were to sue themselves or certain of the officers of GE,

there would be no directors’ and officers’ insurance protection and thus, they will not bring such

a suit. On the other hand, such insurance coverage exists for this action, which is brought

derivatively, and will provide a basis for the Company to effectuate a recovery. Thus, demand on

the Director Defendants is futile, and therefore, excused.

                                             COUNT I

              Against Defendants for Violations of Section 14(a) of the Securities
               Exchange Act of 1934 and Rule 14a-9 Promulgated Thereunder

       132.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       133.    Rule 14a-9, promulgated pursuant to §14(a) of the Securities Exchange of 1934,

provides that no proxy statement shall contain “any statement which, at the time and in the light

of the circumstances under which it is made, is false or misleading with respect to any material

fact, or which omits to state any material fact necessary in order to make the statements therein

not false or misleading.” 17 C.F.R. §240.14a-9.         Specifically, the Company’s 2017 Proxy

Statements filed violated §14(a) and Rule 14a-9 because they omitted material information

regarding the wrongdoing of Defendants as detailed above, and included by reference materially

false and misleading financial statements.

       134.    In the 2017 Proxy, the Company emphasized its supposed past and current efforts

to establish and enforce effective controls over financial reporting. The 2017 Proxy stated, in part,

               The Board has oversight for risk management at GE with a focus on
               the most significant risks facing the company, including strategic,
               operational, financial and legal and compliance risks.




                                                 34
                 GE uses a broad set of financial metrics to measure its performance,
                 and accurate financial reporting and robust auditing are critical to
                 our success. We have added a number of directors who qualify as
                 audit committee financial experts, and we expect all of our directors
                 to have an understanding of finance and financial reporting
                 processes.

       135.      The above statements were false and misleading and omitted material information

because the Board has, and continues to, knowingly disregard its oversight responsibility in the

area of financial reporting and has ratified GE’s past egregious and systemic financial

misreporting.

       136.      In the exercise of reasonable care, Defendants should have known that the 2017

Proxy Statement contained misleading information and/or omitted material information.

       137.      The misrepresentations and omissions in the 2017 Proxy Statement were material

to Company shareholders in voting on the 2017 Proxy Statement.

       138.      The Company was damaged as a result of the Defendants’ material

misrepresentations and omissions in the 2017 Proxy Statement.

                                             COUNT II

                Against the Individual Defendants for Breaches of Fiduciary Duty

       139.      Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       140.      The Individual Defendants owed and owe GE fiduciary obligations. By reason of

their fiduciary relationships, the Individual Defendants owed and owe GE the highest obligation

of good faith, loyalty, and due care.

       141.      The Individual Defendants have violated and breached their fiduciary duties of

good faith, loyalty, and due care by causing or allowing the Company to disseminate to GE

shareholders materially misleading and inaccurate information through the Company’s SEC filings



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throughout the Relevant Period. These actions could not have been a good faith exercise of prudent

business judgment.

       142.    During the course of the discharge of their duties, the Individual Defendants knew

or recklessly disregarded the unreasonable risks and losses associated with their misconduct, yet

the Individual Defendants caused GE to engage in the conduct complained of herein which they

knew had an unreasonable risk of damage to the Company, thus breaching their duties owed to GE

and its shareholders. As a result, the Individual Defendants grossly mismanaged the Company.

       143.    As a direct and proximate result of the Individual Defendants’ failure to perform

their fiduciary obligations, the Company has sustained significant damages. As a result of the

misconduct alleged herein, the Individual Defendants are liable to the Company.

       144.    Plaintiff, on behalf of GE, has no adequate remedy at law.

                                           COUNT III

                        Against all Defendants for Unjust Enrichment

       145.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       146.    By their wrongful acts and omissions, the Defendants were unjustly enriched at the

expense of and to the detriment of GE.

       147.    The Defendants were unjustly enriched as a result of the compensation they

received while breaching their fiduciary duties owed to GE.

       148.    Plaintiff, as a shareholder and representative of GE, seeks restitution from the

Defendants and seek an order from this Court disgorging all profits, benefits, and other

compensation obtained by Defendants from their wrongful conduct and breaches of fiduciary duty.

       149.    Plaintiff, on behalf of GE, has no adequate remedy at law.




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                                            COUNT IV

                   Against the Individual Defendants for Abuse of Control

       150.    Plaintiff incorporate by reference and realleges each and every allegation contained

above, as though fully set forth herein.

       151.    The Individual Defendants have taken advantage of their positions as officers

and/or directors of the Company to the detriment of GE and the investing public by causing the

Company to issue materially misleading statements and/or omitting material information

concerning the reporting of the Company’s financials and lack of related internal control.

       152.    As such, the Individual Defendants have abused their positions of control with the

Company and are legally responsible.

       153.    Thus, for the aforementioned reasons, the Individual Defendants are liable to the

Company for their wrongdoing.

                                            COUNT V

                Against the Individual Defendants for Gross Mismanagement

       154.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       155.    The Individual Defendants owed a duty of oversight to the Company in which they

were responsible to ensure that the Company maintained adequate reporting controls for all

financial, accounting and disclosure released by the Company. Furthermore, the Defendants were

responsible to oversee, manage and control the operations of the Company, including the manners

and methods of reporting in which the acts complained herein occurred.

       156.    Through the wrongful acts complained of herein, the Individual Defendants refused

or did not properly discharge their responsibilities to the Company and its shareholders in a prudent




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manner as prescribed by law as well as in the Company’s corporate governance regulations.

       157.    By committing the misconduct alleged herein, the Individual Defendants breached

their fiduciary duties of due care, diligence and candor in the management and administration of

GE’s affairs and in the use and preservation of GE’s assets.

       158.    During the course of the discharge of their duties, the Individual Defendants knew

or recklessly disregarded the unreasonable risks and losses associated with their misconduct, yet

the Individual Defendants caused GE to engage in the conduct complained of herein which they

knew had an unreasonable risk of damage to GE, thus breaching their duties to the Company.

       159.    As a result, the Individual Defendants grossly mismanaged GE and should be liable

to the Company for the resulting damages

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment in the Company’s favor against all

Defendants as follows:

       A.      Declaring that Plaintiff may maintain this action on behalf of GE and that Plaintiff

is an adequate representative of the Company;

       B.      Determining and awarding to GE the damages sustained by it as a result of the

violations set forth above from each of the Defendants, jointly and severally, together with interest

thereon;

       C.      Directing GE and the Director Defendants to take all necessary actions to reform

and improve its corporate governance and internal procedures to comply with applicable laws and

to protect GE and its shareholders from a repeat of the damaging events described herein,

including, but not limited to, putting forward for shareholder vote the following resolutions for

amendments to the Company’s By-Laws or Articles of Incorporation; and the following actions as




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may be necessary to ensure proper Corporate Governance Policies:

                 (1) a proposal to strengthen the Board’s supervision of operations and develop and

                     implement procedures for greater shareholder input into the policies and

                     guidelines of the Board; and

                 (2) a proposal to ensure the establishment of effective oversight of compliance with

                     applicable laws, rules, and regulations.

          D.     Determining and awarding to GE exemplary damages in an amount necessary to

punish Defendants and to make an example of Defendants to the community according to proof at

trial;

          E.     Awarding GE restitution from Defendants, and each of them;

          F.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and experts’ fees, costs, and expenses; and

          G.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                 DEMAND FOR TRIAL BY JURY

          Plaintiff hereby demands a trial by jury.

Dated: April 17, 2018                           Respectfully submitted,

                                                By: ___________________________
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                                                Attorneys for Plaintiff



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                                         VERIFICATION

I, Malka Raul Raul hereby declare as follows:


      I am shareholder of GE and have continuously so owned the Company’s common stock

during the relevant period. I declare that I am the plaintiff named in the foregoing Shareholder

Derivative Complaint (“Complaint”), and know the content thereof; that the pleading is true to

my knowledge, except as to those matters stated on information and belief, and that as to such

matters I believe to be true. I declare under penalty of perjury that the foregoing is true and

correct.



Executed on 04/17/2018




                                                          Signature
